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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                       
                                 June 25, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 25[th] day of June, 2015.

10-15-00159-CV	KILLEEN MAJESTIC HOMES, INC. v. CENTEX ASSOCIATES, LLC AND CENTEX ASSOCIATES, LLC D/B/A CENTEX REALTY, LLC - ON APPEAL FROM THE 74[TH] DISTRICT COURT OF McLENNAN COUNTY - TRIAL COURT NO. 2013-1149-4 - DISMISSED - Opinion by Justice Davis:

"This cause came on to be heard on the Court's own motion to dismiss appeal, and the same being considered, because it is the opinion of the Court that said appeal should be dismissed; it is therefore ordered, adjudged and decreed that said appeal be, and hereby is, dismissed.  It is further ordered that Appellant Killeen Majestic Homes, Inc. pay all costs in this behalf expended and that this decision be certified below for observance."


